    24-10193-cgb Doc#73 Filed 05/17/24 Entered 05/17/24 23:21:34 Imaged Certificate of
                                    Notice Pg 1 of 3
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                  Bankruptcy Case
                                                                                  24−10193−cgb
                                                                             No.:
                                                                     Chapter No.: 11
                                                                                  Christopher G
                                                                           Judge: Bradley
IN RE: Wells Solar & Electrical Services LLC ,
Debtor(s)




                                         NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   us−courts.webex.com/meet/Bradley

     on   6/18/24 at 10:30 AM

     Hearing to Consider and Act Upon the Following: (Related Document(s): 69 Motion for Relief from Stay (14
     Day Objection Language) ( Filing Fee: $ 199.00 ) filed by Misty Ann Segura for Creditor EnFin Corp.
     Hearing Scheduled For 6/18/2024 at 10:30 AM at us−courts.webex.com/meet/Bradley. Any exhibits to be
     considered by the Court should be emailed to the law clerks and courtroom deputy 5 calendar days before the
     hearing by 4 p.m. (CT). Two hard copies of the exhibits, bound and tabbed, should also be sent to the
     Courtroom Deputy at Ronda Farrar, U.S. Bankruptcy Court, 903 San Jacinto Blvd., #322, Austin, TX 78701.
     (Farrar, Ronda) . A TIMELY−FILED RESPONSE TO THE MOTION IS NECESSARY FOR A
     HEARING TO BE HELD.....If a reset is requested and approved or an Agreed Order is submitted prior to
     the hearing, no appearance is required.


Dated: 5/15/24
                                                           Barry D. Knight
                                                           Clerk, U. S. Bankruptcy Court




                                                                                     [Hearing Notice (BK)−HCM] [NtchrgBKhcmap]
           24-10193-cgb Doc#73 Filed 05/17/24 Entered 05/17/24 23:21:34 Imaged Certificate of
                                           Notice Pg 2 of 3
                                                              United States Bankruptcy Court
                                                                Western District of Texas
In re:                                                                                                                 Case No. 24-10193-cgb
Wells Solar & Electrical Services LLC                                                                                  Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0542-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 15, 2024                                               Form ID: 510                                                               Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 17, 2024:
Recip ID                 Recipient Name and Address
db                     + Wells Solar & Electrical Services LLC, 3805 Bee Creek Road, Spicewood, TX 78669-6596
cr                     + Ben Benny Koonce, 208 Alpine Lane, Bertram, TX 78605-4688
cr                     + Dror Baldinger, 3431 Oakdale, #2610, San Antonio, TX 78229-2407
cr                     + EnFin Corp., c/o Misty A. Segura, Spencer Fane LLP, 3040 Post Oak Blvd., Ste. 1400, Houston, TX 77056 UNITED STATES
                         77056-6584
cr                     + Jane Greenberg, c/o Daniels & Tredennick PLLC, Attn: J. Maxwell Beatty, 6363 Woodway Dr., Suite 700, Houston, TX 77057-1713
cr                     + Rebecca Becky Koonce, 208 Alpine Lane, Bertram, TX 78605, UNITED STATES 78605-4688
cr                     + Rexel USA, Inc., c/o Coats Rose, P.C., 9 Greenway Plaza, Suite 1000, Houston, TX 77046-0900

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     ^ MEBN
                                                                                        May 15 2024 21:56:56      Texas Comptroller of Public Accounts, Revenue
                                                                                                                  Acco, Jamie Kirk, PO Box 12548, Austin, TX
                                                                                                                  78711-2548

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 17, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 15, 2024 at the address(es) listed below:
Name                               Email Address
         24-10193-cgb Doc#73 Filed 05/17/24 Entered 05/17/24 23:21:34 Imaged Certificate of
                                         Notice Pg 3 of 3
District/off: 0542-1                                             User: admin                                                            Page 2 of 2
Date Rcvd: May 15, 2024                                          Form ID: 510                                                          Total Noticed: 8
Abigail Ventress
                               on behalf of Creditor Rebecca "Becky" Koonce abigail@vbpenalaw.com paralegal@vbpenalaw.com;Blayre@vbpenalaw.com

Abigail Ventress
                               on behalf of Creditor Ben "Benny" Koonce abigail@vbpenalaw.com paralegal@vbpenalaw.com;Blayre@vbpenalaw.com

Andrew Lamb Pattillo
                               on behalf of Creditor Clark Roofing and Construction Inc. pattillo@thetexasfirm.com

Charles Murnane
                               on behalf of Debtor Wells Solar & Electrical Services LLC cmurnane@bn-lawyers.com
                               cchristensen@bn-lawyers.com;plevine@bn-lawyers.com;mcalderon@bn-lawyers.com

David D. Ritter
                               on behalf of Creditor M Judge dritter@ritterspencer.com

David D. Ritter
                               on behalf of Creditor Dror Baldinger dritter@ritterspencer.com

David D. Ritter
                               on behalf of Creditor Faith Bushen dritter@ritterspencer.com

David D. Ritter
                               on behalf of Creditor De Sossamon dritter@ritterspencer.com

David D. Ritter
                               on behalf of Creditor Joe Pohlman dritter@ritterspencer.com

David D. Ritter
                               on behalf of Creditor Steve Jernigan dritter@ritterspencer.com

Gary W. Wright
                               on behalf of U.S. Trustee United States Trustee - AU12 gary.wright3@usdoj.gov

Jamie Kirk
                               on behalf of Creditor Texas Comptroller of Public Accounts Revenue Accounting Division bk-jkirk@texasattorneygeneral.gov,
                               sherri.simpson@oag.texas.gov

Jon Maxwell Beatty
                               on behalf of Creditor Jane Greenberg max@dtlawyers.com 7671921420@filings.docketbird.com

Michael G. Colvard
                               on behalf of Trustee Michael G. Colvard mcolvard@mdtlaw.com mcolvard@ecf.axosfs.com;amartinez@mdtlaw.com

Michael G. Colvard
                               mcolvard@mdtlaw.com mcolvard@ecf.axosfs.com;amartinez@mdtlaw.com

Michelle E. Shriro
                               on behalf of Creditor PS Business Parks L.P. mshriro@singerlevick.com, scotton@singerlevick.com;tguillory@singerlevick.com

Misty Ann Segura
                               on behalf of Creditor EnFin Corp. msegura@spencerfane.com misty-segura-9690@ecf.pacerpro.com

Richard Alan Fulton
                               on behalf of Creditor Rexel USA Inc. rfulton@coatsrose.com, vhernandez@coatsrose.com

Stephen W. Sather
                               on behalf of Debtor Wells Solar & Electrical Services LLC ssather@bn-lawyers.com
                               phammer@bn-lawyers.com;cmurnane@bn-lawyers.com;plevine@bn-lawyers.com;cchristensen@bn-lawyers.com;BarronNewbur
                               gerPCAustin@jubileebk.net;mcalderon@bn-lawyers.com;kparsley@bn-lawyers.com

Steven B. Bass
                               on behalf of Creditor United States Small Business Administration Steven.Bass@usdoj.gov tina.travieso@usdoj.gov

Tara LeDay
                               on behalf of Creditor Edouard-Alexandre Sabatier tara.leday@chamberlainlaw.com
                               lisa.adair@chamberlainlaw.com;vcovington@mvbalaw.com;bankruptcy@mvbalaw.com;Crystal.eudy@mvbalaw.com;Karla.alexa
                               nder@mvbalaw.com;valerie.herrera@chamberlainlaw.com;lara.coleman@chamberlainlaw.com

Tara LeDay
                               on behalf of Creditor Astrid Roos Sabatier tara.leday@chamberlainlaw.com
                               lisa.adair@chamberlainlaw.com;vcovington@mvbalaw.com;bankruptcy@mvbalaw.com;Crystal.eudy@mvbalaw.com;Karla.alexa
                               nder@mvbalaw.com;valerie.herrera@chamberlainlaw.com;lara.coleman@chamberlainlaw.com

United States Trustee - AU12
                               ustpregion07.au.ecf@usdoj.gov


TOTAL: 23
